Case 2:09-cr-00863-SRC       Document 111    Filed 05/18/11     Page 1 of 2 PageID: 660




                                               UNITED STATES DISTRICT COURT
                                                    DISTRICT OF NEW JERSEY


                                               Hon.    Stanley R,Chesler

                                               Crim,    No.09-863
 MARK VENTRICELLI



                        coITi ows       SUPERSEDING INDICTN

              This matter having come before the
                                                 Court with respect
 to superseding indictment           (09863(SI));      and on application of the
 defendant Mark Ventricelli,           by Gerald D.    Miller,    Esq.,   with Paul
 J.   Fishman,    United States Attorney for the District
                                                          of New Jersey
 (by V.   Grady O’Malley,      Senior Litigation Counsel)          also appearing;
and,

              where,     as a condition of his bail,          the defendant is
required to wear an ankle bracelet;            and,

                 and,   as a further condition of bail and
                                                           in conjunction
with the ankle bracelet,            the defendant is required to abide
                                                                       by a
curfew;   and,

            where the defendant has entered a
                                              plea of guilty on
this 18th lay of May 201.1;          and,

              for good cause shown.

            It is on t.hisj(T         day of May,   2011 the ORDER of this
                              IL)
Court that:
                   CD               Ft                  U)        CU
                   U)                                                                    U)            N)
                                                        CD        a                      CD            C)
                   U)               Di                  N         ;l)-
                   CD               Ft                                                   U)            ci.
                                                        N         F”                     CD            LI)
                   a                                    F”        CD                     a
                   Ft               U)                  a
                                    CD                                                   U)         U)
                                                        CD        U)                     Di         U)
                                                       Cl)        N                      a
                                                                  CU                     Ft         Ft
                                                       F”         a                                 U)
             U)               a    F                   Cl)
             a                                                    CD          CU         U)         CD
                                   U)                             Ft          •          CU
                                   CD                             CD
             0               0                                                           N          U)
                                                                  Ft                                0
                             Ft    U)         Ft       pi                     Ft
                             U)    U)         U)
                                                                                                    a.
             tzj             CD                                               U)         <
                                              CD       t      U)              CD        CD
                             N     Di                  CD     CD
                                                                                                                   Case 2:09-cr-00863-SRC




                                             U)
                                                                                        a
                                                       p      N               U)        Ft          CU
                             H     a         CD                               CD
                             (I)   F”
                                                              E                         N           Ft
                                             U)               F”              U)        F”          Ft
                            CD     U)        CD        Di     U)              CD
                                   U)        a         a      U)
                                                                                        a
                            Di     Ft
                                                                              a         CD
                                             U)        U)     H-              U)        Ft        U)
                            Ft               Di               0               CU
                            Ft     a                                                    F”        a
                                             a                a               a
                                   a         Ft                               Ft
                            0      N               N          Ft                     CU
                            Ft                                                                    Di
                                   U)        F”    Ft         0           H-         N
                            U)     CD        U)                                                   N
                                                   U)                     Dl         CD           Ft
                         CD                        CD         U)                                  N
                                                                                                                   Document 111




                         N                   t1    N          Di          a
                                          CD       -          N           0         CD
                         a                                    CD                    N
 H                       0                CD                              Ft
                         a                                                          CD            CD
                                          RI                  F”          C)        U)            U)
 CD                      U)                                   Ft          a                       CD
                        F”               CD
                        Ft                                               U)                       N
       Cl)                                                   N           CD         Di            Di          F”
                        H                                    CD
 Cl)rt                  0                                                N          ?             Ft
                                         U)                                         CD
                        a                N                   C)
                                                                                                             U)
                        (I)
                                                                         N          a                        0
                                         0                   N           CD         0.         CU            Cl)
                                                             CD                     CD
                                                                                                                   Filed 05/18/11




(DfD                    0                                                U)                   CU)            CD
                                                             U)          C)         U)         H-            U)
                        U)               Ft                              H-
                                         U)                  U)          N          Di         Ft
                        U)               CD                                                                  C)
H-                      Di                                   U)          CD         Dl         N             a
U)                      H                                                U)                    Di
crc)                                     U)                  U)                    U)          Ft
                        Ft               Di                                                                  U)
                                                             N           Ft        0           CD            0
H- CD                                    N-                  CD          0         Ft
                        N                                    Ft
                                                                                                             N
ow                      CD                                                         F”          4
                                                                                               C             CD
                                                             N                     0           a
      CD                Di
                                         a                   H-          CD        E          U)
                                         0                   CU          Di        F”         CU)
                        H-                                                                                   CD
                                         a                   Ft          N         a           CD            N
                        a                U)                                        LQ
                                         H-                              CU                   -
                        H-               Ft                                                                  F)
CD                      a                                                a                                   U)
                                         )                                                    U)
                                                                                              0
                                         a                                                    N
                                                                                                                   Page 2 of 2 PageID: 661
